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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 JOHN A. ABRAHAM, M.D.                          :
 Plaintiff,                                     :
              v.                                :
                                                : No. 2:20-cv-02967-MMB
 THOMAS JEFFERSON UNIVERSITY and                :
 THOMAS JEFFERSON UNIVERSITY                    :
 HOSPITALS, INC.                                :
 Defendants.                                    :
                                                :


       DEFENDANTS’ EMERGENCY MOTION FOR A BRIEF CONTINUANCE

       Defendants Thomas Jefferson University and Thomas Jefferson University Hospitals, Inc.

collectively, “Jefferson,” through their attorneys, file this emergency motion for a brief trial

continuance. As will be explained below:

           •   Jefferson’s lead trial counsel is seriously ill and cannot attend trial on Friday,
               December 8, 2023 (and maybe for several days thereafter).

           •   Jefferson apparently has to defend itself against a claim for punitive damages that
               was not contained in plaintiff’s complaint. Worse, plaintiff has sprung upon
               Jefferson, during the midst of the damage phase of the trial, documents that he
               intends to use to support his unpleaded punitive damage claim. These documents
               were not on plaintiff’s exhibit list. Nor were they on the joint exhibit list. Yet,
               plaintiff intends to use these surprise documents in his case-in-chief during the
               damage phase.

           •   As a consequence of these unforeseen events, Jefferson’s ability to continue their
               non-profit missions of healthcare and education will be severely damaged, should
               they be required to proceed with the damage phase of this case without their lead
               trial counsel, who has represented Jefferson for decades in numerous weighty
               matters.




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              •   All that is needed to cure these issues, and the several prejudice being caused to
                  Jefferson, is the grant of a short continuance. This is not unreasonable under the
                  circumstances. There will be no prejudice to plaintiff if a continuance is granted.
                  While the Court and jurors may be slightly inconvenienced, such concerns cannot
                  outweigh the massive prejudice that Jefferson will suffer should a short continuance
                  not be granted.

                     Lead Trial Counsel’s Illness And Inability To Attend Trial

        1.        Jefferson is represented by William A. Harvey, Esquire, Lisa A. Lori, Esquire and

Stephanie D. Wolbransky, Esquire, of the law firm of Klehr Harrison Harvey Branzburg LLP.

        2.        Mr. Harvey has been long-time counsel to Jefferson on numerous matters going

back several decades.

        3.        Mr. Harvey was specifically chosen by Jefferson to act as lead counsel in this case,

and was specifically chosen by Jefferson to be their lead trial counsel.

        4.        As this Court is aware, Mr. Harvey has been ill throughout this trial.

        5.        In the late afternoon of Thursday, December 7, 2023, Mr. Harvey was finally

overcome by his illness and had to leave the courtroom before the end of that day’s court session,

and is now seeking hospital treatment and care. He was unable to participate in yesterday evening’s

trial deposition of plaintiff’s expert or any preparation sessions. Ultimately, Mr. Harvey informed

his co-counsels Ms. Lori and Ms. Wolbransky that he would be unable to attend the trial on Friday,

December 8, 2023.

        6.        Ms. Lori and Ms. Wolbransky immediately informed the client, Jefferson. Jefferson

is understandably concerned not only for Mr. Harvey’s health, but also because the trial is in its

most critical phase—the damages determination—without Mr. Harvey’s presence and advice to

the client.




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       7.      Jefferson is a non-profit hospital system and medical school. Any unexpected

substantial expense will be severely detrimental. Importantly, this will compromise their ability

to provide necessary medical services to their patients and education to their students.

                           Plaintiff’s Claim For Punitive Damages 1

    1. Plaintiff filed his First Amended Complaint, which is the effective pleading in this lawsuit,

        on April 12, 2021. See Exhibit 2.

       2.      Defendants have pored over the First Amended Complaint numerous times. The

word “punitive” does not appear in the First Amended Complaint. The term “punitive damages”

does not appear in the First Amended Complaint. It goes without saying that there is no request

or demand in the First Amended Complaint for an award of punitive damages.

       3.      On November 15, 2023, in accordance with this Court’s scheduling order, Jefferson

filed a motion in limine to strike plaintiff’s claim for punitive damages and exclude any evidence

pertaining to the wealth of Jefferson (Jefferson uses the term “wealth” as that is the term used in

the context of punitive damages, keeping in mind that Jefferson is a non-profit entity and such

terms are unsuitable).

       4.      The basis for the motion in limine was fundamental: plaintiff filed a prolix First

Amended Complaint replete with allegations and many specific claims for relief, but never once

requested an award of punitive damages. Again, the term “punitive damages” does not appear in

the First Amended Complaint at all.

       5.      After the jury reached a verdict late in the afternoon of Thursday, December 7,

2023, plaintiff’s counsel requested that defendants’ counsel ensure that a designee of Jefferson




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 It is Defendants’ understanding that this Court has not yet ruled on their Motion in Limine to
Preclude Punitive Damages.
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attend trial on Friday, December 8, 2023 to authenticate documents. The documents plaintiff’s

counsel referred to were not produced or identified to defendants’ counsel at that time. 2

       6.      The evening of Thursday, December 7, 2023, William J. Clements, Esquire of the

Klehr Harrison Harvey Branzburg LLP law firm, who is assisting the Jefferson trial team in this

matter, contacted plaintiff’s counsel via telephone after the video deposition of Mr. Staller and

asked plaintiff’s counsel to identify or produce the documents, as otherwise it was impossible for

Jefferson to identify an appropriate designee. 3 The call was cordial, and plaintiff’s counsel

promptly emailed the documents to Mr. Clements.

       7.      One of the documents is a lengthy audited financial statement, dated mid-year 2021.

Another is a shorter document from a third-party website, “ahd.com” referencing Jefferson.

       8.      These documents contain Jefferson’s purported financial information. It is believed

that plaintiff wishes to use these documents as evidence of Jefferson’s “wealth” in connection with

his punitive damages claim.

       9.      It is doubtful these documents were recently created. Yet they were never produced

by plaintiff prior to trial. Nor do they appear on plaintiff’s exhibit list, or on the parties’ joint

exhibit list. Accordingly, Jefferson has not had a chance to review or evaluate this new evidence.




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        Notably, on November 22, 2023, Plaintiff served a subpoena to appear and testify at trial
on Jefferson’s corporate designee, and listed topics for which he intended to seek testimony.
Nowhere in the subpoena does Plaintiff identify any documents related to Jefferson’s financial
situation or to otherwise establish their wealth.
3
        Mr. Clements has not entered his appearance in this lawsuit. He has been admitted to this
Court for over 20 years. But Mr. Clements first became involved in this lawsuit when requested
to assist the current trial team in the first or second week of November 2023. Although he has not
been formally introduced to the Court, he has been attending trial sitting behind defendants’
counsel table, and is also known to plaintiff’s counsel. Aside from only recently becoming
involved in this lawsuit, Mr. Clements has not previously represented Jefferson in any litigation
matters. He is certainly not a substitute for Mr. Harvey.
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       10.     Jefferson recognizes that this Court has bifurcated this trial into a liability and

damage phase. Plaintiff has the burden of proof in each phase. Plaintiff has the concomitant

obligation to identify what exhibits he will try to use and introduce in his case-in-chief prior to

any phase of the trial beginning.

       11.     Again, these newly revealed documents, produced by plaintiff at the last minute,

appear to have existed when the parties were exchanging their individual exhibit lists and putting

together their joint exhibit list. It cannot be overemphasized that these documents were first

identified as potential exhibits in plaintiff’s case-in-chief only after the jury entered a verdict on

the fourth day of trial, and after the damage phase of the trial had commenced.

       12.     Because Jefferson is a non-profit, and because these documents were produced at

the very last minute, Jefferson should be allowed time to review these documents and prepare a

witness to explain them, especially if the Court will allow plaintiff to seek punitive damages and

use these documents produced at the last minute to do so, after plaintiff himself failed to set forth

a punitive damage claim in his First Amended Complaint. Fairness, equity and due process militate

the brief continuance requested.

       13.     Jefferson filed their motion in limine pertaining to plaintiff’s unpleaded—and thus

defective—punitive damages claim on November 15, 2023 to determine whether it would have to

defend against a punitive damage claim and ensure it had sufficient time to prepare.

       14.     It is impossible for Jefferson to now prepare a defense on this critical issue of

potential punitive damages that could cause devastating financial consequences, the evening

before the issue and supporting documents will be put to the jury, and without their chosen and

trusted lead counsel, Mr. Harvey. Again, a brief continuance can cure this and afford the Court an

opportunity to fully consider and rule on Jefferson’s motion in limine pertaining to plaintiff’s



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punitive damage claim. On the other hand, a short continuance will cause no harm or prejudice to

plaintiff.

                                             Argument

        15.     Although Jefferson scrupulously followed the Court’s scheduling order regarding

the filing of pre-trial motions in limine in good faith, they still do not yet know whether or why

they have to defend themselves against a punitive damage claim that was never pleaded by plaintiff

in his First Amended Complaint.

        16.     To be clear, these damage claims could result in devastating consequences to

Jefferson, their employees, their patients and their students, not to mention the City of Philadelphia.

        17.     Making matters worse, Jefferson’s ability to continue their non-profit missions of

healthcare and education are at risk of being severely damaged, and, if this Court denies their

motion in limine to preclude punitive damages, they are forced to defend against plaintiff’s claim

without their long-time trusted attorney and lead trial counsel, Mr. Harvey.

        18.     Jefferson understands the Court’s desire to swiftly conclude this trial, and not to

inconvenience the jury. But just as “ justice delayed is justice denied,” hurtling through the critical

damage phase of this trial under the circumstances—rather than allowing for short continuance—

is also a denial of justice.

        19.     Jefferson further recognizes and respects that requests for continuances are

addressed to the sound discretion of the Court.

        20.     The Third Circuit has held that “continuance of trial is a matter of discretion with

the trial court and will not be disturbed unless a clear abuse of discretion has been shown”; but the

Third Circuit has also cautioned trial courts that “[a]n unreasoning and arbitrary insistence upon

expeditiousness in the face of a justifiable request for delay is an abuse of discretion.” Woodham



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v. Sayre Borough Police Dept., 191 Fed. Appx. 111, 116 (3d Cir. 2006). See also Smith-Weik

Machinery Corp. v. Murdock Machine and Engineering Co., 423 F.2d 842, 844 (5th Cir. 1970) (the

appellate court reversing a trial verdict and remanding for a new trial because district court judge

denied a party’s reasonable request for a short continuance on account of the illness of the party’s

lead trial counsel).

        21.     Jefferson and their counsel have not been dilatory in either the lawsuit or at the trial

of the lawsuit. Nor is their request for a continuance some trial tactic. To be clear, Jefferson’s lead

trial counsel is ill; there are issues that need to be resolved pertaining to plaintiff’s damage claims

(including the punitive damage claim); and Jefferson needs time to select and prepare a witness to

testify with respect to the punitive damage exhibits that have been newly sprung upon Jefferson

during the damage phase of the trial and without prior notice.

        22.     With all due respect to the Court and its desire to complete this trial expeditiously,

refusing to grant a short continuance under these circumstances would be an abuse of discretion.

        23.     Jefferson requests a short continuance to at least Thursday, December 14, 2023 to

complete the final day of trial.

        24.     Alternatively, Jefferson proposes that a trial session be held on Friday, December

7, 2023 which is limited to the presentation of the parties’ respective damage experts and the issue

of compensatory damages, with the presentation of any evidence or argument pertaining to

punitive damages to take place after a short continuance, on Thursday, December 14, 2023.

        25.     This will address the within concerns of Jefferson, and allow the Court time to

address and rule on Jefferson’s pending motion in limine as to whether plaintiff’s claim for punitive

damages should be heard. On the other hand, it will cause no prejudice to plaintiff and only a

minor inconvenience to the jurors.



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       WHEREFORE, Jefferson respectfully requests that their emergency motion for a

continuance be granted.



                                                   Respectfully submitted,


                                                   KLEHR HARRISON
                                                   HARVEY BRANZBURG LLP

Dated: December 8, 2023                      By:   /s/ Stephanie D. Wolbransky
                                                   William A. Harvey
                                                   Lisa A. Lori
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                               CERTIFICATE OF SERVICE

       I, Stephanie D. Wolbransky, hereby certify that I caused a true and correct copy of this

Emergency Motion to be served on all counsel of record via the Court’s ECF system.




Dated: December 8, 2023                                   /s/ Stephanie D. Wolbransky
                                                          Stephanie D. Wolbransky




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